
The motion of Bethlehem Steel Corporation, et al. for leave to participate in oral argument as amici curiae, for divided argument and for additional time for oral argument is denied. The motion of respondents David H. Miller and William W. Shaffer for divided argument is denied. The motion of respondent LTV Bank Group for divided argument and for additional time for oral argument is denied. The motion of respondent Official Committee of Unsecured Creditors of LTV Steel Company, Inc. and Certain Affiliates for divided argument is denied. The motion of respondent Official Parent Creditors’ Committee of the LTV Corporation for divided argument is denied. The motion of respondent BancTexas, Dallas, N.A. for divided argument is denied.
